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                             1 IRELL & MANELLA LLP
                               John C. Hueston (164921)
                             2 jhueston@irell.com
                               Andra B. Greene (123931)
                             3 agreene@irell.com
                               Steven N. Feldman (281405)
                             4 sfeldman@irell.com
                               840 Newport Center Drive, Suite 400
                             5 Newport Beach, California 92660-6324
                               Telephone: (949) 760-0991
                             6 Facsimile: (949) 760-5200
                           7 MONROY, AVERBUCK & GYSLER
                             Jon F. Monroy (51175)
                           8 Jennifer E. Gysler (143449)
                             32123 Lindero Canyon Road, Suite 301
                           9 Westlake Village, California 91361
                             Telephone: (818) 889-0661
                          10 Facsimile: (818) 889-0667
                          11 Attorneys for Defendants
                             NUTRACEUTICAL CORP.
                          12
                          13                            UNITED STATES DISTRICT COURT
                          14                           CENTRAL DISTRICT OF CALIFORNIA
                          15                                       WESTERN DIVISION
                          16 FRANK ORTEGA and TROY                            )   Case No. 2:13-cv-05942-AB-E
                             LAMBERT, on behalf of themselves                 )
                          17 and all others similarly situated,               )
                                                                              )   DEFENDANT NUTRACEUTICAL
                          18                                                  )   CORP.’S NOTICE OF MOTION
                                                     Plaintiffs,              )   AND MOTION FOR SUMMARY
                          19                                                  )   JUDGMENT
                          20                                                  )
                                           vs.                                )   [Filed concurrently with the Declaration
                          21                                                  )   of Andra B. Greene, Defendant’s
                                                                              )   Separate Statement of Uncontroverted
                          22 NUTRACEUTICAL CORP., a                           )   Facts and Conclusions of Law, and
                             Delaware Corporation,                            )   [Proposed] Order]
                          23                                                  )
                                                                              )   Date:           February 2, 2015
                          24                         Defendant.               )   Time:           10:00 a.m.
                                                                              )   Judge:          Hon. André Birotte Jr.
                          25                                                  )   Courtroom:      790
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                             1                            NOTICE OF MOTION AND MOTION
                             2             TO ALL INTERESTED PARTIES AND THEIR ATTORNEYS OF
                             3 RECORD:
                             4             PLEASE TAKE NOTICE THAT on February 2, 2015 at 10:00 a.m., or as
                             5 soon thereafter as the matter may be heard, in Courtroom 790, of the above-entitled
                             6 Court, located at 255 East Temple Street, Los Angeles, California 90012, before the
                             7 Honorable André Birotte Jr., Defendant Nutraceutical Corp. (hereinafter
                             8 “Nutraceutical”) will and hereby does move the Court for an order for summary
                             9 judgment. Nutraceutical’s motion is based upon this Notice of Motion, the
                          10 Memorandum of Points and Authorities offered in support of the motion, all
                          11 documents in the Court’s file, any matters of which this Court may take judicial
                          12 notice, and any evidence or argument presented at or prior to the hearing on this
                          13 matter. Nutraceutical seeks an order granting summary judgment on all of
                          14 Plaintiffs’ claims.
                          15               Pursuant to Local Rule 7-3, the parties met and conferred regarding this
                          16 Motion on November 17, 2014.
                          17
                                 Dated: November 24, 2014                         IRELL & MANELLA LLP
                          18                                                      John C. Hueston
                                                                                  Andra B. Greene
                          19                                                      Steven N. Feldman
                          20
                          21
                                                                                  By:        /s/ Andra B. Greene
                          22                                                            Andra B. Greene
                                                                                        Attorneys for Defendants
                          23                                                            NUTRACEUTICAL CORP.
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                             1 I.          INTRODUCTION
                             2             Plaintiff Troy Lambert (“Lambert”) has brought claims under California law
                             3 against Defendant Nutraceutical alleging that its product, Natural Balance CobraTM
                             4 (“Cobra”), makes false and misleading claims on its label. California law, however,
                             5 protects only reasonable consumers, Hill v. Roll Int’l Corp., 195 Cal. App. 4th 1295,
                             6 1304 (2011), not those who rely on exaggerated hyperbole, or who fail to read a
                             7 product’s label. Accordingly, this Court should grant summary judgment in favor of
                             8 Nutraceutical for the following reasons.
                             9             First, Cobra’s label consists solely of vague hyperbole – or “puffery” – on
                          10 which no reasonable consumer would rely. These statements are non-actionable
                          11 under well-established California and Ninth Circuit precedent. See, e.g., Newcal
                          12 Indus., Inc. v. Ikon Office Solution, 513 F.3d 1038, 1053 (9th Cir. 2008); Consumer
                          13 Advocates v. Echostar Satellite Corp., 113 Cal. App. 4th 1351, 1361 n.3 (2003).
                          14 Nutraceutical has even produced expert survey evidence which further demonstrates
                          15 that the label contains mere puffery. Plaintiffs, on the other hand, have provided no
                          16 contrary survey evidence, or any other affirmative evidence to rebut Nutraceutical’s
                          17 evidence. Hence, there is no genuine dispute of material fact regarding this issue.
                          18               Second, under applicable law, Lambert lacks standing to bring a UCL claim
                          19 based on Cobra’s alleged failure to comply with Food Drug and Cosmetic Act
                          20 (“FDCA”) labeling requirements. Lambert has not produced any evidence to
                          21 indicate that he was injured by Cobra’s purported non-compliance. In fact, he
                          22 admitted in his deposition that, before purchasing Cobra, he did not consider
                          23 whether it would function like a drug, nor did he read Cobra’s list of ingredients.
                          24 Accordingly, Lambert cannot show – as he must – that he would not have been
                          25 injured but for Cobra’s alleged FDCA violations.
                          26               For these reasons, as explained in further detail below, this Court should grant
                          27 summary judgment in full.
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                             1 II.         FACTUAL BACKGROUND
                             2             This case began with two lead plaintiffs, but it is now down to one.
                             3 Lambert’s co-plaintiff, Frank Ortega, recently voluntarily withdrew as lead plaintiff
                             4 and was dismissed with prejudice, Dkt. No. 121, after Nutraceutical pointed out in
                             5 its Motion for Class Decertification that Ortega perjured himself during his
                             6 deposition when he lied about his medical history. Dkt No. 111 at 19-21. Lambert
                             7 is thus the sole remaining class representative. Unfortunately for Lambert, his
                             8 claims fare no better than Ortega’s.
                             9             Lambert purchased Cobra, a dietary supplement comprised of herbs, extracts,
                          10 and other plant based materials, purportedly believing that it would allow him to
                          11 maintain erections and have sex for at least an hour. Greene Decl., Ex. A (“Lambert
                          12 Tr.”) at 28:15-18. The operative Second Amended Complaint (“SAC”) specifically
                          13 alleges that Lambert inferred that he could achieve such fantastical results based on
                          14 the following words and imagery on Cobra’s label:
                          15                the Product’s name, “Cobra Sexual Energy”
                          16                “Powerful Men’s Formula”
                          17                “with Yohimbe & Horny Goat Weed
                          18                “Take Virility to the Max!”
                          19                “Perform Your Best with Animal Magnetism”
                          20                “improve . . . performance”
                          21                “‘aphrodisiac’ plants to enhance . . . sexual energy”
                          22                “Scientifically blending select, high-quality herbs”
                          23                “Natural Balance has energized people’s health and well-being”
                          24                “offering specialty supplements that work”
                          25                “Helping people live healthier, more enjoyable lives”
                          26                “proprietary formulas”
                          27                “Most famous of all performance enhancing herbs”
                          28
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                             1              the “graphic of a cobra snake with an erect head on the front of the Cobra
                             2                box”
                             3              “Cobra blends exotic herbs from the Orient, South Pacific, and Africa”
                             4              “Discover Natural Balance”
                             5              “Yohimbe Bark Extract” and “Legendary herb from Africa that contains
                             6                Yohimbine. Yohimbe is intended to provide nutritive support for healthy
                             7                blood flow”
                             8              “Horny Goat Weed” and “From China, it is thought to support sensitivity
                             9                in the sensory nerves”
                          10                “Muira Puama” and “Stimulating Brazilian herb known as ‘potency
                          11                  wood’”
                          12                “Saw Palmetto” and “North American herb known for its reputed ability to
                          13                  help promote prostate function”
                          14 SAC¶ 96; Greene Decl., Ex. B (“Cobra Label”). Lambert later admitted, however,
                          15 that he actually paid little attention to the contents of Cobra’s label – in fact, he did
                          16 not even look at its ingredients. Lambert Tr. at 39:4-6. Rather, when deciding to
                          17 purchase Cobra, Lambert primarily relied on the label’s accurate depiction of a
                          18 cobra snake. Lambert Tr. 25:11-26:16.
                          19               When Cobra purportedly failed to live up to Lambert’s fantasies, he sued,
                          20 alleging claims under California’s Unfair Competition Law (“UCL”), False
                          21 Advertising Law (“FAL”), and Consumers Legal Remedies Act (“CLRA”).
                          22 III.          LEGAL STANDARD
                          23               Summary judgment is proper when a “movant shows that there is no genuine
                          24 dispute as to any material fact and the movant is entitled to judgment as a matter of
                          25 law.” Fed. R. Civ. P. 56(a). While a court must construe the facts in the light most
                          26 favorable to the nonmoving party, the nonmoving party stills bears the burden of
                          27 showing that there is “sufficient evidence . . . for a jury to return a verdict” in his or
                          28 her favor. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986). Further,
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                             1 when the nonmoving party would bear the burden of proof at trial, the moving party
                             2 need only point out “that there is an absence of evidence to support the nonmoving
                             3 party’s case.” Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986).
                             4             Crucially, “the mere existence of some alleged factual dispute” will not defeat
                             5 summary judgment. Anderson, 477 U.S. at 247. Rather, the party opposing
                             6 summary judgment must show that there is a “genuine issue of material fact.” Id. at
                             7 248. In other words, mere allegations or assertions that would be sufficient at
                             8 pleading stage are not enough to defeat a motion for summary judgment. Id.
                             9 Instead, the nonmoving party “must set forth specific facts showing that there is a
                          10 genuine issue for trial.” Fed. R. Civ. P. 56(e). As we explain below, applying this
                          11 standard, Lambert’s claims should be dismissed.
                          12 IV.           THE STATEMENTS ON COBRA’S LABEL ARE NON-ACTIONABLE
                          13               PUFFERY
                          14               California law is clear: to be actionable under California’s UCL, FAL, and
                          15 CLRA, an advertisement must amount to more than “meaningless superlatives.”
                          16 Consumer Advocates v. Echostar Satellite Corp., 113 Cal. App. 4th 1351, 1361, n.3
                          17 (2003) (holding that “crystal clear” video and “CD quality” audio were hyperbolic
                          18 boasts and thus non-actionable). Rather, the advertisement must advance a “specific
                          19 and measurable claim, capable of being proved false or of being reasonably
                          20 interpreted as a statement of objective fact.” Coastal Abstract Serv., Inc. v. First
                          21 Am. Title Ins. Co., 173 F.3d 725, 731 (9th Cir. 1999). Where, instead, advertising
                          22 consists only of “blustering, and boasting upon which no reasonable consumer
                          23 would rely,” it is considered non-actionable puffery. See Southland Sod Farms v.
                          24 Stover Seed Co., 108 F.3d 1134, 1145 (9th Cir. 1997) (holding that the statement
                          25 “Less is More” was puffery whereas “50% Less Mowing” was not because the latter
                          26 promised a specific, measurable standard) (internal quotation marks omitted).
                          27               At the motion to dismiss stage, Judge Collins expressly declined to decide
                          28 whether the statements on Cobra’s label consisted of mere puffery, stating that it
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                             1 would have been premature to do so. Dkt. No. 54 at 4. With discovery now
                             2 complete, however, the issue is ripe for decision, and this Court should grant
                             3 summary judgment on Lambert’s claims on the ground that no reasonable consumer
                             4 would interpret Cobra’s label as making “specific measurable claims.” Coastal
                             5 Abstract Serv., 173 F.3d at 731. Critically, Lambert bears the burden of producing
                             6 evidence demonstrating that Cobra’s label is not puffery. See Colgan v. Leatherman
                             7 Tool Grp., Inc., 135 Cal. App. 4th 663, 682 (2006). He has not done so, and any
                             8 “conclusory” assertions offered by himself or any of his witnesses are not enough to
                             9 create a genuine dispute of material fact. Hansen v. United States, 7 F.3d 137, 138
                          10 (9th Cir. 1993).
                          11               Indeed, as set forth in this Motion, all of the evidence presented in this case –
                          12 including the label itself and extensive consumer survey data from a well-
                          13 established expert – shows that the claims made on Cobra’s label are nothing but
                          14 “[g]eneralized, vague, and unspecified assertions.” Anunziato v. eMachines, Inc.,
                          15 402 F. Supp. 2d 1133, 1139 (C.D. Cal. 2005) (holding that promises relating to
                          16 “quality,” “reliability,” and “performance” were puffery). In other words, they are
                          17 “classic puffery.” Newcal Indus., Inc. v. Ikon Office Solution, 513 F.3d 1038, 1053
                          18 (9th Cir. 2008) (advertisement’s promise to “provide . . . customers with low costs
                          19 and with flexibility was puffery”).
                          20               A.    The Statements on Cobra’s Label Are General and Ambiguous
                          21                     Rather than Specific and Measurable, As Expert Evidence
                          22                     Demonstrates.
                          23               As the Ninth Circuit has explained, the “common theme” running through
                          24 puffery cases “is that consumer reliance will be induced by specific rather than
                          25 general assertions.” Cook, Perkiss & Liehe, Inc. v. N. California Collection Serv.
                          26 Inc., 911 F.2d 242, 246 (9th Cir. 1990). Puffery thus consists in “claims [which] are
                          27 either vague or highly subjective.” Id. (internal quotation marks omitted) (alteration
                          28 in the original). This is because statements that have no fixed meaning cannot, by
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                             1 their nature, be subject to measurement or testing. See Pestube Sys., Inc. v.
                             2 HomeTeam Pest Def., LLC, No. CV 05-2832-PHXMHM, 2007 WL 973964, at *12
                             3 (D. Ariz. Mar. 30, 2007) (“It is difficult to see how [a] statement could be
                             4 actionabl[e]” when it “is subject to broad and varying degrees of meaning and is not
                             5 a specific and detailed statement of fact that [could be] supported by testing.”); see
                             6 also Shaker v. Nature’s Path Foods, Inc., No. EDCV 13-1138-GW OPX, 2013 WL
                             7 6729802, at *5 (C.D. Cal. Dec. 16, 2013) (a statement is puffery if it “is a subjective
                             8 boast without a specific type of interpretation”).
                             9             All of the statements on Cobra’s label are “vague and highly subjective.”
                          10 Cook, 911 F.2d at 246. While the SAC alleges that a litany of statements on
                          11 Cobra’s label are misleading, SAC ¶ 96, none of these statements can be reasonably
                          12 interpreted as promising specific measurable benefits. Coastal Abstract Serv., 173
                          13 F.3d at 731. Indeed, to the extent that the gravamen of Plaintiffs’ Complaint is that
                          14 Cobra’s label, when viewed as whole, promised to “improve sexual performance,”
                          15 SAC ¶ 90, this is quintessential puffery, as at least one court in the Central District
                          16 of California has previously recognized. See Anunziato, 402 F. Supp. 2d at 1440
                          17 (statements relating to quality of “performance” amount to mere “puffing”). The
                          18 word “performance,” as with all puffery, is an inherently subjective concept, one not
                          19 capable of being measured. See id.
                          20               The same is true for all the other statements on Cobra’s label. For example,
                          21 phrases such as, “Perform at Your Best with Animal Magnetism,” “Take Virility to
                          22 the Max!,” and “Powerful Men’s Formula,” SAC ¶ 96, are not the sort of claims that
                          23 are subject to actual measurement. “Perform at Your Best” is yet another
                          24 “prototypical example of puffery,” K & N Eng’g, Inc. v. Spectre Performance, No.
                          25 EDCV 09-01900-VAP, 2011 WL 4387094, at *15 (C.D. Cal. Sept. 20, 2011)
                          26 (listing cases in which the word “best” has been held to be puffery). Likewise, there
                          27 is no “product testing” that one could to perform to determine just how “powerful”
                          28 Cobra’s formula is, or the extent to which it helps exude “animal magnetism,” or
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                             1 just exactly how much “virility” is the maximum amount. See Southland Sod, 108
                             2 F.3d at 1145 (describing non-puffery as claims that promise specific, testable
                             3 results).
                             4             Indeed, courts routinely dismiss claims predicated on similarly hyperbolic
                             5 promises to boost performance or physical prowess. For example, in Hansen
                             6 Beverage Co. v. Vital Pharm., Judge Gonzalez of the Southern District of California
                             7 held that an energy drink’s boast that it would “leave you ‘amped’ to the max in
                             8 minutes, ready to tear apart the weights and wear out the treadmill like a tiger
                             9 released from its cage!” was non-actionable puffery, as none of these claims were
                          10 “verifiable or measurable.” No. 08-CV-1545-IEG POR, 2010 WL 1734960, at *8
                          11 (S.D. Cal. Apr. 27, 2010). Similarly, in Stokely-Van Camp, Inc. v. Coca-Cola Co.,
                          12 the court held that the phrase “Upgrade your game,” as used to promote a sports
                          13 drink, could not be reasonably interpreted as a promise to “improve athletic
                          14 abilities.” 646 F. Supp. 2d 510, 529-30 (S.D.N.Y. 2009). As the court stressed, the
                          15 advertisement “[did] not say that [the product would] upgrade consumers’ game by
                          16 a specific amount, nor [did] it claim that it [would] upgrade their game in any
                          17 particular way.” Id. (emphasis added).
                          18               The same is true here. Notably absent from Cobra’s label is any claim that it
                          19 can produce specific results. For example, contrary to Lambert’s expectations,
                          20 Cobra does not say that it will help you “last longer,” Lambert Tr. at 18:10-12, or
                          21 “maintain an erection for an hour without ejaculating” as Lambert wished. Id. at
                          22 28:22-25. Lambert admitted as much in his deposition. Id. at 28:8-21; 47:24-48:12.
                          23               This lack of specificity is what distinguishes Cobra’s label from other
                          24 advertisements that courts have found to be actionable. For example, in Hansen
                          25 Beverage, discussed above, the court held that the phrase “one serving of Power
                          26 Rush will provide seven hours of energy” was actionable because it made a specific
                          27 durational claim that could be proven “literally false.” 2010 WL 1734960, at *5.
                          28 Likewise, in Cook, the Ninth Circuit contrasted the hyperbolic, and therefore non-
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                             1 actionable, phrase “far brighter than any lamp ever,” with the more specific, and
                             2 therefore actionable, phrase “35,000 candle power and 10-hour life.” Cook, 911
                             3 F.2d at 246.
                             4             Cobra’s label, however, does not make any durational claims – such as “7
                             5 hour” energy or “10-hour life” – nor does it try to quantify the extent to which it
                             6 enhances sexual energy or performance.1 The claims made on its label are thus non-
                             7 actionable puffery.
                             8             Furthermore, there can be no genuine dispute of fact regarding this issue.
                             9 Nutraceutical has produced expert survey evidence (the only evidence in this case
                          10 that actually measures consumer sentiment) that demonstrates that consumers
                          11 perceive the statements on Cobra’s label as “vague and highly subjective” rather
                          12 than specific and measurable. Cook, 911 F.2d at 246. As detailed in Nutraceutical’s
                          13 Motion for Class Decertification, Dkt. No. 111, Nutraceutical commissioned Dr. Eli
                          14 Seggev, a well-established “expert in the field of marketing,” Algarin v. Maybelline,
                          15 300 F.R.D. 444, 453 (S.D. Cal. 2014), to conduct “a consumer survey to gauge
                          16 potential purchasers’ opinions regarding the overall meaning of . . . Cobra[‘s]
                          17 packaging, the individual statements . . . on Cobra[‘s] packing, and consumer
                          18 expectations regarding the . . . benefits that Cobra . . . may deliver.” Greene Decl.,
                          19
                          20
                                           1
                          21             Lambert also cannot rely on the statements on Cobra’s label regarding the
                                 quality of its ingredients, such as, “Scientifically Blend[ed],” “high quality herbs,”
                          22     and “proprietary formulas.” SAC ¶ 96. These too are puffery as numerous courts
                                 have held. For example, in Shaker v. Nature’s Path Foods, Inc., the court held that
                          23     Cereal’s representation that it contained “optimum” ingredients was non-actionable
                          24     because “any reasonable consumer would understand that the word is not a specific
                                 and objective representation.” No. EDCV 13-1138-GW OPX, 2013 WL 6729802,
                          25     at *5 (C.D. Cal. Dec. 16, 2013). See also Hill’s Pet Nutrition, Inc. v. Nutro Prods.,
                                 Inc., No. CV–04–8413–AHM, 2005 WL 5908852, at *3 (C.D. Cal. Apr. 28, 2005)
                          26     (“optimum combination of premium ingredients” is non-actionable puffery).
                          27     Likewise, Sensible Foods, LLC v. World Gourmet, Inc., No. 11-2819 SC, 2012 WL
                                 566304, at *6 (N.D. Cal. Feb. 21, 2012) (statement that Defendants’ products
                          28     contain the ‘right’ ingredients” was puffery).
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                             1 Ex. C (“Seggev Rpt.”) at 1. Dr. Seggev’s expert report yielded two significant
                             2 results.
                             3             First, it found that consumers “harbor inconsistent opinions regarding”
                             4 Cobra’s packaging. Id. (emphasis added). Specifically, consumers’ reactions to the
                             5 statements found on Cobra’s label were “characterized by a great deal of variation,
                             6 lack of uniformity and unpredictability.” Id. at 40 (emphasis added). As noted
                             7 above, such variance in consumer reaction is the hallmark of puffery. See Pizza
                             8 Hut, Inc. v. Papa John’s Int’l, Inc., 227 F.3d 489, 499 (5th Cir. 2000) (statements
                             9 that are “wholly a matter of individual taste” are puffery).
                          10               Second, Dr. Seggev’s expert report showed that only “between 12 and 27
                          11 percent of respondents believed Cobra was somewhat or very likely” to provide any
                          12 benefit, depending on which individual statement was at issue. Seggev Rpt. at 39.
                          13 Thus, at best, a small minority of consumers thought Cobra would deliver any
                          14 specific, tangible results at all based on its labeling. Further, even among this
                          15 minority, there was little agreement as to what these results would be. Id. at 38-39.
                          16 Again, this is exactly the result one would expect with mere puffery. Since puffery
                          17 makes no specific, measurable promises, it is “extremely unlikely to induce”
                          18 reliance in most consumers. See Newcal Indus., Inc., 513 F.3d at 1053.
                          19               Lambert has not rebutted and cannot meaningfully rebut Nutraceutical’s
                          20 survey evidence. Indeed, testimony from his own experts confirms that the
                          21 statements on Cobra’s label are highly ambiguous and subject to varied
                          22 interpretations. For example, Lambert’s rebuttal marketing expert, Dr. George
                          23 Belch, repeatedly conceded during his deposition that the meaning of the statements
                          24 on Cobra’s label were wholly subjective. Specifically, Dr. Belch admitted that the
                          25 phrase “sexual energy” could “mean different things to different people.” Greene
                          26 Decl., Ex. D (“Belch Tr.”) at 50:15-51:13. Similarly, when asked to interpret the
                          27 phrase “perform at your best with animal magnetism,” Dr. Belch said “[i]t could be
                          28 different things” depending on the person. Id. at 53:1-12. He likewise stated that
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                             1 the meaning of the phrase “perform at your best” would “depend[] on . . . how it’s
                             2 interpreted by the individual.” Id. at 54:15-17. Even Plaintiffs’ health and nutrition
                             3 expert witness, Dr. David Rowland, echoed the same conclusion at his deposition:
                             4 specifically, when asked about the meaning of Cobra’s label, Dr. Rowland stated, “I
                             5 think it is vague and therefore can be interpreted in a variety of ways.” Greene
                             6 Decl., Ex. E (“Rowland Tr.”) at 62:18-20.
                             7             Given Nutraceutical’s extensive survey evidence and the admissions of
                             8 Lambert’s own experts, Lambert cannot demonstrate that there is any real dispute
                             9 over whether the statements on Cobra’s label constitute puffery. Significantly,
                          10 while Lambert bears the burden of proof at trial, Nutraceutical is the only party that
                          11 has produced affirmative evidence addressing the central question of this case:
                          12 whether consumers are generally misled by Cobra’s label. To the extent that
                          13 Lambert or his witnesses have merely asserted that Cobra’s label is misleading, this
                          14 is not sufficient to create a genuine dispute of material fact. See Pampered Chef v.
                          15 Magic Kitchen, Inc., No. 97 C 1091, 1999 WL 20922, at *1 (N.D. Ill. Jan. 7, 1999)
                          16 (witnesses’ opinions that statements were misleading were not sufficient to sustain
                          17 party’s evidentiary burden “[i]n the absence of surveys showing actual confusion”);
                          18 see also Rebel Oil Co. v. Atl. Richfield Co., 51 F.3d 1421, 1440 (9th Cir. 1995)
                          19 (“Assertions in expert affidavits do not automatically create a genuine issue of
                          20 material fact.”).
                          21               B.    Summary Judgment is the Proper Procedure for Dismissing
                          22                     Lambert’s Claims, and Prior Court Decisions Regarding Cobra’s
                          23                     Label at the Motion to Dismiss Stage are Irrelevant Now.
                          24               In his opposition to Defendants’ motion to dismiss, Lambert relied primarily
                          25 upon Peviani v. Natural Balance, Inc., 774 F. Supp. 2d 1066 (S.D. Cal. 2011),
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                          27
                          28
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                             1 another dispute involving Cobra – which was voluntarily dismissed by plaintiffs2 –
                             2 to support his allegation that Cobra’s label consists of more than just puffery. The
                             3 decision has no relevance here on summary judgment.
                             4             That is because, in Peviani, Judge Huff explicitly declined to decide whether
                             5 the claims on Cobra’s label amounted to puffery at the motion to dismiss stage,
                             6 finding that it was not one of the “rare situations” in which it would be appropriate
                             7 to grant a motion to dismiss on a UCL claim. Id.at 1072 (citing Williams v. Gerber
                             8 Products Co., 552 F.3d 934, 939 (9th Cir. 2008)). The court’s decision thus kept in
                             9 line with established law holding that dismissal in a deceptive-business-practices
                          10 case is only appropriate where “it [would be] impossible for the plaintiff to prove
                          11 that a reasonable consumer was likely to be deceived.” Williams, 552 F.3d at 939.
                          12               Where a plaintiff ultimately fails to provide such proof, however, summary
                          13 judgment is the proper remedy. Indeed, Judge Huff explicitly left open the
                          14 possibility that the court could revisit the issue at summary judgment. Peviani, 774
                          15 F. Supp. at 1072 n.1 (noting that defendant “is free to raise the issue of puffery again
                          16 on a motion for summary judgment”). She never had the chance, however, because
                          17 Plaintiffs voluntarily dismissed their case. Judge Collins made a similar
                          18 determination here. In her Order denying Defendant’s Motion to Dismiss on the
                          19 issue of puffery, Judge Collins stated that she was not yet prepared to determine
                          20 whether all of the statements on Cobra’s label were puffery, and she further
                          21 “decline[d] to rule on a piecemeal basis” at that time. Dkt. No. 54 at 4.
                          22               The time to resolve these questions is now. Critically, this Court now has the
                          23 benefit of, among other things, Lambert’s own testimony and expert survey
                          24 evidence, which Judges Collins and Huff lacked. As explained above, all of this
                          25 evidence (and the lack of evidence produced by Plaintiffs during discovery)
                          26               2
                                      Peviani v. Natural Balance, Inc. No. 3:10-cv-02451 at Dkt. No. 46. Plaintiff
                          27 voluntarily dismissed her case after the Court denied her motion for class
                             certification. Peviani v. Natural Balance Inc., No. 3:10-CV-2451 AJB BGS, 2011
                          28 WL 1648952, at *4 (S.D. Cal. May 2, 2011).
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                             1 demonstrates that Cobra’s label consists exclusively of puffery. Lambert has not
                             2 carried his burden of affirmatively demonstrating that consumers are actually misled
                             3 by Cobra’s label. See Colgan, 135 Cal. App. 4th at 682. The fact that Lambert’s
                             4 claims were able to survive a motion to dismiss does not relieve him of his burden
                             5 of production at summary judgment, see Anderson, 477 U.S. at 249 (party opposing
                             6 summary judgment must show that there is “sufficient evidence . . . for a jury to
                             7 return a verdict” in his or her favor), and it certainly does not entitle him to proceed
                             8 to trial when his claim lacks merit. Accordingly, this Court should grant summary
                             9 judgment in favor of Nutraceutical.
                          10 V.            LAMBERT LACKS STANDING TO BRING A UCL CLAIM
                          11               BECAUSE HE WAS NOT INJURED BY COBRA’S ALLEGED
                          12               FAILURE TO COMPLY WITH FDCA STANDARDS
                          13               Lambert alleges that Cobra’s labeling is “unlawful,” and therefore actionable
                          14 under the UCL, because it “violates the FDCA and its implementing regulations.”
                          15 SAC ¶ 122. While Nutraceutical vigorously contests this allegation, even assuming
                          16 for argument’s sake that it were true, Lambert does not have standing to pursue this
                          17 claim because, as the evidence shows, he was not injured by Cobra’s alleged failure
                          18 to comply with the FDCA. Bus. & Prof. Code § 17204 (A UCL claim may only be
                          19 brought by “a person who has suffered injury in fact . . . as a result of [] unfair
                          20 competition.”).
                          21               To establish standing under the “unlawful prong” of the UCL, a plaintiff must
                          22 prove that his or her purported injury was caused by a defendant’s allegedly
                          23 unlawful act. Daro v. Super. Ct., 151 Cal. App. 4th 1079, 1099 (2007). Further, in
                          24 a case in which “the predicate unlawful conduct is misrepresentation,” the plaintiff
                          25 must demonstrate that he or she relied on the allegedly misleading statement. Hale
                          26 v. Sharp Healthcare, 183 Cal. App. 4th 1373, 1385 (2010). Lambert cannot do so,
                          27 however, because he has failed to produce a shred of evidence demonstrating that
                          28 Cobra’s alleged failure to comply with the FDCA had any effect whatsoever on his
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                             1 purchasing decisions. And, under well-established law, causation does not lie where
                             2 a plaintiff would have purchased a product even in the absence of defendant’s
                             3 allegedly unlawful and misleading advertising. See Princess Cruise Lines, Ltd. v.
                             4 Super. Ct., 179 Cal. App. 4th 36, 43-44 (2009) (plaintiffs lacked standing under the
                             5 UCL where defendant’s unlawful activity “made no difference” on their decision to
                             6 purchase the product).
                             7             Specifically, Lambert has admitted that he did not rely on those features of
                             8 Cobra’s label that allegedly violate the FDCA and accompanying Food and Drug
                             9 Administration (“FDA”) regulations. In his SAC, Lambert advanced two distinct
                          10 theories of liability with respect to his FDCA-based claims.
                          11               First, Lambert alleged that, under 21 CFR § 310.528(b) and other related
                          12 provisions, Cobra constitutes an unapproved “drug.” SAC ¶ 122(d). Lambert,
                          13 however, has produced no evidence that he relied on Cobra’s representation that it
                          14 was a drug when he purchased it. Nor has he ever stated that he believed it would
                          15 function like one. Indeed, Lambert expressly admitted that he did not think about
                          16 whether Cobra was a drug until sometime much later, after he stopped using it.
                          17 Lambert Tr. at 57:7-58:12.
                          18               It thus is clear, based on Lambert’s own testimony, that Cobra’s status as
                          19 “drug,” unlawful or otherwise, was immaterial to his purchasing decisions.
                          20 Accordingly, he cannot claim that he was somehow misled into believing that Cobra
                          21 was a drug when he bought it. See Princess Cruise, 179 Cal. App. 4th at 43-44.
                          22 Lambert thus lacks standing under this first theory.
                          23               Lambert’s second theory fairs no better. Lambert also alleges in his SAC that
                          24 Cobra violates 21 C.F.R. §§ 101.14(a)(3), (b)(3)(i). SAC ¶ 122 (b).3 Those
                          25
                                           3
                          26         Lambert also alleges that Cobra violates FDCA provisions prohibiting
                             products from making “false or misleading” statements. SAC ¶¶ 122(a), (c). These
                          27 claims are thus not predicated on the FDCA itself. Rather they are merely
                             duplicative of Lambert’s other fraud-based claims and do not serve as an
                          28 independent basis of liability.
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                             1 provisions govern whether a product may make health claims based on the nutritive
                             2 effects of its ingredients. Lambert, however, did not purchase Cobra because of its
                             3 ingredients. Indeed, Lambert admitted that he did not even look at the panel
                             4 describing Cobra’s ingredients and their respective functions when he bought the
                             5 product. Lambert Tr. at 39:4-6. Specifically, when Lambert was asked about the
                             6 ingredients on Cobra’s label, he said the following under oath:
                             7             Q:    And that [ingredient] didn’t attract you to the [product ?]
                             8             A:    No, I didn’t look at the ingredients as most of these ingredients
                             9                   I don’t recognize. No, I don’t know.
                          10               Q:    So you weren’t relying on the ingredients?
                          11               A:    No.
                          12 Lambert Tr. at 47:12-17. Lambert’s failure to make even a modest effort to read the
                          13 contents of Cobra’s label is fatal to his claim of standing. California’s UCL is
                          14 premised on a “reasonable consumer” standard. Hill v. Roll Int’l Corp., 195 Cal.
                          15 App. 4th 1295, 1304 (2011). Accordingly, it does not protect the “unwary” or “least
                          16 sophisticated” consumer. Id. Rather, the UCL assumes that a consumer will
                          17 exercise at least some diligence before purchasing a product by investigating its
                          18 contents. See id; see also Freeman v. Time, Inc., 68 F.3d 285, 289-90 (9th Cir.
                          19 1995) (reasonable consumer standard was not satisfied where any purchaser who
                          20 had done “sufficient reading” would not have been misled by the advertising).
                          21 Lambert’s own admissions demonstrate that he would have purchased Cobra no
                          22 matter what its ingredients had been. He thus cannot now claim that he relied on
                          23 what Cobra’s label said about those ingredients when he purchased it. See Princess
                          24 Cruise, 179 Cal. App. 4th at 43-44.
                          25               Several recent district court decisions in the Ninth Circuit have dismissed
                          26 UCL claims on this exact ground. For example, in Figy v. Amy’s Kitchen, Inc.,
                          27 Judge Illston of the Northern District of California held that a plaintiff lacked
                          28 standing to bring a UCL suit predicated on a product’s failure to properly identify its
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                             1 ingredients as “sugar” because he had not “read the ingredients label.” No. CV 13-
                             2 03816 SI, 2013 WL 6169503, at *1, *4 (N.D. Cal. Nov. 25, 2013). As such, the
                             3 plaintiff could not “establish[] that he relied on the alleged misbranding in
                             4 purchasing the products.” Id. at *4. Judge Illston further explained that the mere
                             5 fact that the product’s misrepresentation violated the law was not enough to
                             6 establish standing. Id. Rather, “a plaintiff must still at a minimum allege that he
                             7 saw the representation at issue.” Id.
                             8             Similarly, in Kane v. Chobani, Inc., Judge Koh of the Northern District held
                             9 that Plaintiffs lacked standing to bring suit against a Yogurt brand for its violation of
                          10 the FDA’s “no sugar added” labeling requirements because they never actually read
                          11 this particular label. No. 12-CV-02425-LHK, 2013 WL 5289253, at *2, *8 (N.D.
                          12 Cal. Sept. 19, 2013). Judge Koh emphasized that the mere fact that plaintiffs bought
                          13 a product that was not FDCA compliant was insufficient to establish standing, as
                          14 this “would eviscerate . . . the standing requirements imposed” by the UCL. Id. at
                          15 *9. Instead, Plaintiffs had to show that they would not have bought the product but
                          16 for defendant’s allegedly unlawful statements. See id.
                          17               Lambert’s standing claim here fails for the same reason. Whether Cobra’s
                          18 description of the nutritive properties of its ingredients complied with FDA
                          19 regulations or not, Lambert did not read it. It thus had no influence on his decision
                          20 to purchase Cobra and accordingly cannot confer him standing. See Princess
                          21 Cruise, 179 Cal. App. 4th at 43-44.
                          22               In sum, Lambert was motivated neither by Cobra’s alleged representation that
                          23 it was a drug (which it did not make), nor by the nutritive qualities of its ingredients.
                          24 Rather, according to Lambert’s own testimony, the real motivating force behind his
                          25 decision to purchase Cobra was the label’s accurate depiction of a cobra snake.4
                          26               4
                          To the extent that Lambert argues that he relied on Cobra’s use of the word
                27 “aphrodisiac,” this argument lacks credibility (even assuming that the use of that
                    word was improper, which Nutraceutical strongly contests). In his deposition,
                28 Lambert admitted that he didn’t even know what the word “aphrodisiac” meant,
                    Lambert Tr. at 27:1-3. Thus, he could not have relied on it.
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                             1 Lambert Tr. at 25:11-26:16. Lambert’s reliance on the cobra image, however, does
                             2 not give him standing to bring a UCL claim. Not surprisingly, Lambert has been
                             3 unable to identify any FDCA provision regulating the use of animal logos on dietary
                             4 supplements.
                             5             There is thus no material dispute as to whether Lambert has standing to
                             6 pursue his FDCA-based claims. The Court should accordingly grant summary
                             7 judgment in favor of Nutraceutical on Lambert’s UCL claim.
                             8 VI.         CONCLUSION
                             9             Lambert’s allegations in this case turn on a product label that, according to his
                          10 own admission, he essentially ignored and did not even bother to read, and that
                          11 consists entirely of non-actionable puffery. For all the reasons explained in the
                          12 Motion, Lambert’s claims are meritless and should not proceed past summary
                          13 judgment.
                          14
                          15 Dated: November 24, 2014                            IRELL & MANELLA LLP
                                                                                 John C. Hueston
                          16                                                     Andra B. Greene
                                                                                 Steven N. Feldman
                          17
                          18
                          19                                                     By:        /s/ Andra B. Greene
                                                                                       Andra B. Greene
                          20                                                           Attorneys for Defendant
                                                                                       NUTRACEUTICAL CORP.
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